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       Complete listing of court admissions for Alexey V. Tarasov

                 Name of Court            Date of Admission
            U.S. Supreme Court         1/21/2014
            Supreme Court of Texas     11/5/2010
            (Bar No. 24075140)
            Supreme Court of           9/19/2016
            Oklahoma (Bar No.
            32926)
            Supreme Court of New       10/20/2016
            York, Appellate
            Division, Third
            Department
            2nd Cir.                   5/7/2012
            of Appeals
            4th Cir.                   10/16/2016
            of Appeals
            5th Cir.                   5/8/2012
            of Appeals
            7th Cir.                   9/21/2012
            of Appeals
            8th Cir.                   4/9/2013
            of Appeals
            9th Cir.                   3/19/2012
            of Appeals
            10th Cir.                  6/4/2014
            of Appeals
            U.S. District Court for    5/3/2012
            the Southern District of
            Texas
            U.S. District Court for    4/3/2017
            the District of Columbia
            U.S. District Court for    10/13/2017
            the Southern District of
            New York
            U.S. District Court for    10/27/2017
            the Eastern District of
            New York
